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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                       )
In re                                  )                    Chapter 11
                                       )
TOUGH MUDDER INC., et al., 1           )                    Case No. 20-10036 (CSS)
                                       )
                Debtors.               )                    Joint Administration Requested
                                       )
                                       )                    Objection Deadline:
                                                            February 20, 2020, at 4:00 p.m. (EST)
                                       )                    Hearing Date:
                                       )                    February 25, 2020, at 1:00 p.m. (EST)
______________________________________ )
NOTICE OF HEARING REGARDING CHAPTER 11 TRUSTEE’S MOTION FOR ENTRY
 OF AN ORDER (I) APPROVING ENTRY INTO AND PERFORMANCE UNDER ASSET
 PURCHASE AGREEMENT BY AND AMONG SPARTAN RACE, INC., AND DEBTORS’
CHAPTER 11 TRUSTEE, (II) AUTHORIZING THE SALE OF SUBSTANTIALLY ALL OF
       THE DEBTORS’ ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
  ENCUMBRANCES, AND INTERESTS, (III) APPROVING THE ASSUMPTION AND
   ASSIGNMENT OF CERTAIN CONTRACTS AND RELATED PROCEDURES, (IV)
   APPROVING THE BID PROTECTIONS, AND (V) GRANTING RELATED RELIEF

                PLEASE TAKE NOTICE that on February 7, 2020, Derek C. Abbott, Esq., the
chapter 11 trustee (the “Trustee”) for Tough Mudder Inc. and Tough Mudder Event Production
Inc. (collectively, the “Debtors”) in the above-captioned chapter 11 cases filed the Chapter 11
Trustee’s Motion for Entry of an Order (I) Approving Entry Into and Performance Under
Asset Purchase Agreement by and Among Spartan Race, Inc., and Debtors’ Chapter 11
Trustee, (II) Authorizing the Sale of Substantially All of the Debtors’ Assets Free and Clear of
All Liens, Claims, Encumbrances, and Interests, (III) Approving the Assumption and
Assignment of Certain Contracts and Related Procedures, (IV) Approving the Bid Protections,
and (V) Granting Related Relief [D.I. 30] (the “Motion”). You were previously served with a
copy of the Motion.

               PLEASE TAKE FURTHER NOTICE that the Court has entered an order [D.I.
40] scheduling a hearing on the Motion (the “Sale Hearing”) for February 25, 2020, at 1:00
p.m. (Eastern Standard Time) before the Honorable Chief United States Bankruptcy Judge
Christopher S. Sontchi in the United States Bankruptcy Court for the District of Delaware, 824
N. Market Street, 5th Floor, Courtroom #6, Wilmington, Delaware and directing that any party
wishing to oppose the entry of an order granting the relief requested by the Motion, including,
without limitation, the assumption and assignment of the Assumed Events and Assumed
Contracts (each as defined in the Asset Purchase Agreement, dated as of February 7, 2020, by
and among Spartan Race, Inc., and the Trustee for the benefit of the Debtors), and the sale of
substantially all of the Debtors’ assets free and clear of all liens, claims, encumbrances, and

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        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
        The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
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interests, must file a response or objection (an “Objection”), if any, to the Motion with the Clerk
of the Court, 824 N. Market Street, 3rd Floor, Wilmington, Delaware 19801 on or before
February 20, 2020 at 4:00 p.m. (Eastern Standard Time) (the “Objection Deadline”). At the
same time, you must serve such Objection upon the following parties (the “Notice Parties”) so as
to be received on or before the Objection Deadline: (i) proposed counsel to the Trustee, Morris,
Nichols, Arsht & Tunnell LLP, 1201 N. Market Street, Wilmington, DE 19801, Attn: Curtis S.
Miller (cmiller@mnat.com), Matthew B. Harvey (mharvey@mnat.com), Joseph C. Barsalona II
(jbarsalona@mnat.com), and Brett S. Turlington (bturlington@mnat.com); (ii) counsel to
Spartan Race, Inc., (a) Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C., One Financial
Center, Boston, MA 02111, Attn: Adrienne K. Walker (awalker@mintz.com), and (b) Loizides,
P.A., 1255 King Street, Suite 800, Wilmington, DE 19801, Attn: Christopher S. Loizides,
(loizides@loizies.com); and (iii) the Office of the United States Trustee, J. Caleb Boggs Federal
Building, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801, Attn: Jane Leamy,
Esq. (jane.m.leamy@usdoj.gov).

               PLEASE TAKE FURTHER NOTICE that only Objections made in writing and
timely filed and received in accordance with the procedures above will be considered by the
Court at the Sale Hearing.

           IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION, INCLUDING THE
SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS FREE AND CLEAR OF
ALL LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS, WITHOUT FURTHER
NOTICE OR HEARING.
 Dated: February 12, 2020                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP
 Wilmington, Delaware
                                            /s/ Brett S. Turlington
                                            Curtis S. Miller (No. 4583)
                                            Matthew B. Harvey (No. 5186)
                                            Joseph C. Barsalona II (No. 6102)
                                            Matthew O. Talmo (No. 6333)
                                            Brett S. Turlington (No. 6705)
                                            1201 N. Market Street, 16th Floor
                                            P.O. Box 1347
                                            Wilmington, Delaware 19899-1347
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                                                    jbarsalona@mnat.com
                                                    mtalmo@mnat.com
                                                    bturlington@mnat.com

                                             Proposed Counsel for Derek C. Abbott, Esq., as
                                             Chapter 11 Trustee to Tough Mudder Inc. and
                                             Tough Mudder Event Production Incorporated


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